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                          UNITED STATED DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

CHRISTOPHER MARK PARIS and
OXEBRIDGE QUALITY RESOURCES
INTERNATIONAL, LLC
                                                    CASE NO:       8:19-CV-423-T-02SPF
       Plaintiffs,
vs.
WILLIAM LEVINSON, LEVINSON
PRODUCTIVITY SYSTEMS, P.C.,
MARC TIMOTHY SMITH,
GUBERMAN PMC, LLC, DARYL
GUBERMAN and DONALD
LABELLE,
      Defendant,
______________________________/
 DEFENDANT, WILLIAM LEVINSON’S ANSWER AND AFFIRMATIVE DEFENSES
      TO PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL
       COMES NOW, Defendant, WILLIAM LEVINSON, by and through his undersigned

counsel and pursuant to Federal Rule of Civil Procedure 12(a), hereby files his Answer and

Affirmative Defenses to Plaintiffs, CHRISTOPHER MARK PARIS and OXEBRIDGE

QUALITY RESOURCES INTERNATIONAL, LLC’s, Complaint, and in support thereof states

as follows:

                               JURISDICTION AND VENUE

       1. Denied.

       2. Denied.

       3. Denied as to William Levinson; otherwise, without knowledge therefore denied.

       4. Denied.

       5. Without knowledge therefore denied.

       6. Admitted as to the truth of the statement contained within the case law cited.
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      7. Denied.

      8. Denied.

      9. Denied as to William Levinson; otherwise, without knowledge therefore denied.

      10. Without knowledge therefore denied.

      11. Without knowledge therefore denied.

      12. Without knowledge therefore denied.

      13. Denied.

      14. Admitted.

      15. Admitted.

      16. Denied.

      17. Denied.

      18. Denied as phrased.

      19. Denied as phrased.

      20. Without knowledge therefore denied.

      21. Without knowledge therefore denied.

      22. Without knowledge therefore denied.

      23. Without knowledge therefore denied.

      24. Without knowledge therefore denied.

      25. Without knowledge therefore denied.

      26. Without knowledge therefore denied.

      27. Without knowledge therefore denied.

      28. Without knowledge therefore denied.

      29. Without knowledge therefore denied.
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        30. Without knowledge therefore denied.

        31. Without knowledge therefore denied.

        32. Without knowledge therefore denied.

        33. Without knowledge therefore denied.

        34. Without knowledge therefore denied.

        35. Without knowledge therefore denied.

        36. Without knowledge therefore denied.

        37. Without knowledge therefore denied.

              i.   Without knowledge therefore denied.

             ii.   Without knowledge therefore denied.

            iii.   Without knowledge therefore denied.

            iv.    Without knowledge therefore denied.

             v.    Without knowledge therefore denied.

            vi.    Without knowledge therefore denied.

        38. Without knowledge therefore denied.

        39. Without knowledge therefore denied.

        40. Without knowledge therefore denied.

        41. Without knowledge therefore denied.

        42. Denied.

        43. Denied.

        44. Without knowledge therefore denied.

                                FACTUAL ALLEGATIONS

   I.      CHRISTOPHER PARIS AND OXEBRIDGE QUALITY RESOURCES, LLC
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         45. Without knowledge therefore denied.

         46. Admitted.

         47. Without knowledge therefore denied.

         48. Without knowledge therefore denied.

         49. Without knowledge therefore denied.

         50. Without knowledge therefore denied.

         51. Without knowledge therefore denied.

         52. Without knowledge therefore denied.

         53. Without knowledge therefore denied.

         54. Without knowledge therefore denied.

         55. Without knowledge therefore denied.

         56. Without knowledge therefore denied.

         57. Without knowledge therefore denied.

         58. Without knowledge therefore denied.

   II.      WILLIAM LEVINSON AND LEVINSON PRODUCTIVITY SYSTEMS

         59. Denied.

         60. Denied as phrased.

         61. Denied.

         62. Denied.

         63. Denied as phrased.

         64. Denied as phrased.

         65. Denied as phrased.

         66. Denied as phrased.
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      67. Denied as phrased.

      68. Denied as phrased.

      69. Denied as phrased.

      70. Denied as phrased.

      71. Denied as phrased.

      72. Denied as phrased.

      73. Denied.

      74. Denied as phrased.

      75. Denied.

      76. Denied as to all subparts

            i.   Denied.

           ii.   Denied.

          iii.   Denied.

           iv.   Denied.

           v.    Denied.

           vi.   Denied.

          vii.   Denied.

      77. Denied.

      78. Denied.

      79. Denied.

                         LEVINSON’S DEFAMATORY TWEETS

      80. Denied as phrased.

      81. Denied as phrased.
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      82. Denied as phrased.

      83. Denied as phrased.

      84. Denied as phrased.

      85. Denied as phrased.

      86. Denied as phrased.

      87. Denied as phrased.

   LEVINSON’S MULTIPLE INSTANCES OF DEFAMATION ON AMAZON.COM

      88. Without knowledge, therefore denied.

      89. Without knowledge, therefore denied.

      90. Denied as phrased.

      91. Denied as phrased.

      92. Denied as phrased.

      93. Denied as phrased.

      94. Admitted.

      95. Without knowledge, therefore denied.

      96. Denied as phrased.

      97. Denied.

    LEVINSON’S TORTIOUS INTERFERENCE WITH OXEBRIDGE’S CLIENTS

      98. Denied.

      99. Denied as phrased.

      100.   Denied.

      101.   Denied as phrased.

      102.   Denied as phrased.
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      103.      Denied.

      104.      Denied as phrased.

      105.      Denied as phrased.

      106.      Denied.

      107.      Denied as phrased.

      TORTIOUS INTERFERENCE BY LEVINSON WITH PARIS’ EMPLOYER

      108.      Denied as phrased.

      109.      Denied as phrased.

      110.      Denied as phrased.

      111.      Denied.

      112.      Denied as phrased.

      113.      Denied as phrased.

   LEVINSON CREATES INFRINGING WEBSITES TO DISPARAGE OXEBRIDGE

      114.      Denied.

      115.      Denied as phrased.

      116.      Denied as phrased.

               i.   Denied as phrased.

              ii.   Denied as phrased.

             iii.   Denied as phrased.

             iv.    Denied as phrased.

              v.    Denied as phrased.

      117.      Denied as phrased.

      118.      Denied as phrased.
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      119.      Denied as phrased.

      120.      Denied as phrased.

      121.      Denied as phrased.

      122.      Denied as phrased.

      123.      Denied as phrased.

      124.      Denied as phrased.

      125.      Denied as phrased.

      126.      Denied as phrased.

      127.      Denied as phrased.

      128.      Denied as phrased.

      129.      Denied as phrased.

               i.   Denied as phrased.

              ii.   Denied as phrased.

             iii.   Denied as phrased.

             iv.    Denied as phrased.

      130.      Denied as phrased.

      131.      Denied as phrased.

      132.      Denied as phrased.

      133.      Denied as phrased.

      134.      Denied as phrased.

      135.      Denied as phrased.

      136.      Denied.

      137.      Denied.
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      138.      Denied as phrased.

      139.      Denied.

     III.      DARYL GUBERMAN, DONALD LABELLE, & GUBERMAN-PMC,LLC

      140.      Defendant incorporates paragraphs 1-139 as though fully set forth herein; otherwise

            denied as to all.

                a. Without knowledge; therefore, denied.

                b. Without knowledge; therefore, denied.

                c. Without knowledge; therefore, denied.

                d. Without knowledge; therefore, denied.

                e. Without knowledge; therefore, denied.

                f. Without knowledge; therefore, denied.

                g. Without knowledge; therefore, denied.

                h. Without knowledge; therefore, denied.

                i. Without knowledge; therefore, denied.

                j. Without knowledge; therefore, denied.

      141.      Without knowledge; therefore, denied.

      142.      Without knowledge; therefore, denied.

      143.      Without knowledge; therefore, denied.

      144.      Denied.

      145.      Denied.

      146.      Without knowledge; therefore, denied.

      147.      Denied.

      148.      Denied.
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      149.   Without knowledge; therefore, denied.

      150.   Without knowledge; therefore, denied.

      151.   Without knowledge; therefore, denied.

      152.   Without knowledge; therefore, denied.

      153.   Without knowledge; therefore, denied.

      154.   Without knowledge; therefore, denied.

      155.   Without knowledge; therefore, denied.

      156.   Without knowledge; therefore, denied.

      157.   Without knowledge; therefore, denied.

      158.   Without knowledge; therefore, denied.

      159.   Without knowledge; therefore, denied.

      160.   Without knowledge; therefore, denied.

             a. Without knowledge; therefore, denied.

             b. Without knowledge; therefore, denied.

             c. Without knowledge; therefore, denied.

             d. Without knowledge; therefore, denied.

             e. Without knowledge; therefore, denied.

             f. Without knowledge; therefore, denied.

             g. Without knowledge; therefore, denied.

             h. Without knowledge; therefore, denied.

             i. Without knowledge; therefore, denied.

             j. Without knowledge; therefore, denied.

             k. Without knowledge; therefore, denied.
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             l. Without knowledge; therefore, denied.

             m. Without knowledge; therefore, denied.

             n. Without knowledge; therefore, denied.

             o. Without knowledge; therefore, denied.

             p. Without knowledge; therefore, denied.

      161.   Denied.

             a. Denied.

             b. Denied.

             c. Denied.

             d. Denied.

             e. Denied.

             f. Denied.

             g. Denied.

             h. Denied.

             i. Denied.

             j. Denied.

             k. Denied.

      162.   Without knowledge; therefore, denied.

      163.   Without knowledge; therefore, denied.

      164.   Without knowledge; therefore, denied.

      165.   Without knowledge; therefore, denied.

      166.   Without knowledge; therefore, denied.

      167.   Without knowledge; therefore, denied.
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      168.   Without knowledge; therefore, denied.

      169.   Without knowledge; therefore, denied.

      170.   Without knowledge; therefore, denied.

      171.   Without knowledge; therefore, denied.

      172.   Without knowledge; therefore, denied.

      173.   Without knowledge; therefore, denied.

      174.   Without knowledge; therefore, denied.

      175.   Without knowledge; therefore, denied.

      176.   Without knowledge; therefore, denied.

      177.   Without knowledge; therefore, denied.

      178.   Without knowledge; therefore, denied.

      179.   Without knowledge; therefore, denied.

      180.   Without knowledge; therefore, denied.

      181.   Without knowledge; therefore, denied.

      182.   Without knowledge; therefore, denied.

      183.   Without knowledge; therefore, denied.

      184.   Without knowledge; therefore, denied.

      185.   Without knowledge; therefore, denied.

      186.   Without knowledge; therefore, denied.

      187.   Without knowledge; therefore, denied.

             (a) Without knowledge; therefore, denied.

      188.   Without knowledge; therefore, denied.

      189.   Without knowledge; therefore, denied.
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      190.   Without knowledge; therefore, denied.

      191.   Without knowledge; therefore, denied.

      192.   Denied as phrased.

      193.   Without knowledge; therefore, denied.

      194.   Without knowledge; therefore, denied.

             (a) Without knowledge; therefore, denied.

      195.   Without knowledge; therefore, denied.

      196.   Without knowledge; therefore, denied.

      197.   Without knowledge; therefore, denied.

      198.   Without knowledge; therefore, denied.

              IV.      MARC SMITH AND CAYMAN BUSINESS SYSTEMS

      199.   Without knowledge; therefore, denied.

      200.   Without knowledge; therefore, denied.

      201.   Without knowledge; therefore, denied.

      202.   Without knowledge; therefore, denied.

      203.   Without knowledge; therefore, denied.

      204.   Without knowledge; therefore, denied.

      205.   Without knowledge; therefore, denied.

      206.   Without knowledge; therefore, denied.

      207.   Without knowledge; therefore, denied.

      208.   Without knowledge; therefore, denied.

      209.   Without knowledge; therefore, denied.

      210.   Denied.
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      211.   Without knowledge; therefore, denied.

      212.   Without knowledge; therefore, denied.

      213.   Without knowledge; therefore, denied.

      214.   Without knowledge; therefore, denied.

      215.   Without knowledge; therefore, denied.

      216.   Without knowledge; therefore, denied.

      217.   Without knowledge; therefore, denied.

      218.   Without knowledge; therefore, denied.

      219.   Without knowledge; therefore, denied.

      220.   Without knowledge; therefore, denied.

             a. Without knowledge; therefore, denied.

             b. Without knowledge; therefore, denied.

             c. Without knowledge; therefore, denied.

             d. Without knowledge; therefore, denied.

             e. Without knowledge; therefore, denied.

             f. Without knowledge; therefore, denied.

      221.   Without knowledge; therefore, denied.

      222.   Without knowledge; therefore, denied.

      223.   Without knowledge; therefore, denied.

      224.   Without knowledge; therefore, denied.

      225.   Without knowledge; therefore, denied.

      226.   Without knowledge; therefore, denied.

      227.   Without knowledge; therefore, denied.
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  COUNT I – DEFAMATAION / LIBEL AGAINST WILLIAM LEVINSON, LEVINSON

 PRODUCTIVITY SYSTEMS, PC, MARC SMITH, DARYL GUBERMAN, GUBERMAN

                              PMS, AND DONALD LABELLE

      228. Defendant incorporates paragraphs 1-227 as though fully set forth herein; otherwise,

          denied as to all.

      229. Denied.

      230. Denied.

      231. Denied.

      232. Denied.

      233. Denied.

      234. Denied.

      235. Denied.

      236. William Levinson hereby denied and moves to strike all damages prayed for in any

          “WHEREFORE” clause following paragraph 236 of Plaintiff’s Complaint, including

          but not limited to pre and post judgement intertest, costs, and attorney’s fees, and

          demands strict proof thereof.

   COUNT II – TORTIOUS INTERFERENCE WITH A BUSINESS RELATIONSHIP

 AGAINST WILLIAM LEVINSON, LEVINSON PRODUCTIVITY SYSTEM, PC, MARC

     SMITH, DARYL GUBERMAN, GUBERMAN PMC, AND DONALD LABELLE

      237.Defendant incorporates paragraphs 1-227 as though fully set forth herein; otherwise,

          denied as to all.

      238.Without knowledge therefore denied.

      239.Denied.
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      240.Denied.

      241.Denied.

      242.Denied.

      243.William Levinson hereby denied and moves to strike all damages prayed for in any

          “WHEREFORE” clause following paragraph 242 of Plaintiff’s Complaint, including

          but not limited to pre and post judgement intertest, costs, and attorney’s fees, and

          demands strict proof thereof.

   COUNT III – FEDERAL ANTI-CYBERSQUATTING (ANTI-CYBERPIRACY) (15

              U.S.C. § 115(D)(1)(A)) AGAINST LEVINSON AND SMITH

      244.Defendant incorporates paragraphs 1-227 as though fully set forth herein; otherwise,

          denied as to all.

      245.Denied.

      246.Without knowledge therefore denied.

      247.Without knowledge therefore denied.

      248.Denied.

      249.Denied as phrased.

      250.Denied.

      251.Denied as phrased.

      252.Denied as phrased.

      253.William Levinson hereby denied and moves to strike all damages prayed for in any

          “WHEREFORE” clause following paragraph 252 of Plaintiff’s Complaint, including

          but not limited to pre and post judgement intertest, costs, and attorney’s fees, and

          demands strict proof thereof.
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 COUNT IV – TRADEMARK INFRINGEMENT (15 U.S.C. § 114) AGAINST LEVINSON

                                          AND SMITH

      254.Defendant incorporates paragraphs 1-227 as though fully set forth herein; otherwise,

          denied as to all.

      255.Without knowledge therefore denied.

      256.Denied.

      257.Denied.

      258.Denied.

      259.Denied.

      260.William Levinson hereby denied and moves to strike all damages prayed for in any

          “WHEREFORE” clause following paragraph 259 of Plaintiff’s Complaint, including

          but not limited to pre and post judgement intertest, costs, and attorney’s fees, and

          demands strict proof thereof.

  COUNT V – FLORIDA UNFAIR COMPETITION – TRADEMARK INFRINGEMENT

                              AGAINST LEVINSON AND SMITH

      261.Defendant incorporates paragraphs 1-227 as though fully set forth herein; otherwise,

          denied as to all.

      262.Denied as phrased.

      263.Without knowledge therefore denied.

      264.Denied.

      265.Denied as phrased.

      266.Denied.

      267.Denied.
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      268.Denied.

      269.Denied.

      270.William Levinson hereby denied and moves to strike all damages prayed for in any

          “WHEREFORE” clause following paragraph 269 of Plaintiff’s Complaint, including

          but not limited to pre and post judgement intertest, costs, and attorney’s fees, and

          demands strict proof thereof.

    COUNT VI – MISREPRESENTATION OF COPYRIGHT CLAIMS UNDER THE

    DIGITAL MILLENIUM COPYRIGHT ACT (“DMCA”) 17 U.S.C. §512 AGAINST

        DARYL GUBERMAN, GUBERMAN PMC, AND DONALD LABELLE

      271.Defendant incorporates paragraphs 1-227 as though fully set forth herein; otherwise,

          denied as to all.

      272.Without knowledge; therefore, denied.

      273.Without knowledge; therefore, denied.

      274.Without knowledge; therefore, denied.

      275.Without knowledge; therefore, denied.

      276.Without knowledge; therefore, denied.

      277.Without knowledge; therefore, denied.

      278.Without knowledge; therefore, denied.

      279.Without knowledge; therefore, denied.

      280.Without knowledge; therefore, denied.

      281.Without knowledge; therefore, denied.

      282.Without knowledge; therefore, denied.

      283.Without knowledge; therefore, denied.
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      284.Without knowledge; therefore, denied.

      285.Without knowledge; therefore, denied.

      286.Without knowledge; therefore, denied.

      287.Without knowledge; therefore, denied.

      288.Without knowledge; therefore, denied.

      289.Without knowledge; therefore, denied.

      290.Without knowledge; therefore, denied.

   COUNT VII: ABUSE OF PROCESS AGAINST DARYL GUBERMAN, GUBERMAN

                              PMC, AND DONALD LABELLE

      291. Defendant incorporates paragraphs 1-227 as though fully set forth herein; otherwise,

          denied as to all.

      292.Without knowledge; therefore, denied.

      293.Without knowledge; therefore, denied.

      294.Without knowledge; therefore, denied.

      295.Without knowledge; therefore, denied.

      296.Without knowledge; therefore, denied.

      297.Without knowledge; therefore, denied.

      298.Without knowledge; therefore, denied.

     COUNT VIII: WIRETAPPING, VIOLATION OF FLORIDA STATUTE 934.03,

                              AGAINST DARYL GUBERMAN

      299. Defendant incorporates paragraphs 1-227 as though fully set forth herein; otherwise,

          denied as to all.

      300.Without knowledge; therefore, denied.
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      301.Without knowledge; therefore, denied.

      302.Without knowledge; therefore, denied.

      303.Without knowledge; therefore, denied.

      304.Without knowledge; therefore, denied.

      305.Without knowledge; therefore, denied.

      306.Without knowledge; therefore, denied.

      307.Without knowledge; therefore, denied.

      308.Without knowledge; therefore, denied.

      COUNT IX: INTERCEPTION OF ELECTRONIC COMMUNICATIONS IN

 VIOLATION OF THE WIRETAP ACT, 18 U.S.C. §2511(1)(A) AGAINST DEFENDANT

                                       GUBERMAN

      309. Defendant incorporates paragraphs 1-227 as though fully set forth herein; otherwise,

          denied as to all.

      310.Without knowledge; therefore, denied.

      311.Without knowledge; therefore, denied.

      312.Without knowledge; therefore, denied.

      313.Without knowledge; therefore, denied.

         COUNT X: FOR DISCLOSURE OF INTERCEPTED ELECTRONIC

 COMMUNICATIONS IN VIOLATION OF THE WIRETAP ACT, 18 U.S.C. § 2511(1)(C)

 AGAINST DEFENDANTS GUBERMAN, GUBERMAN PMC, AND DONALD LABELLE

      313. Defendant incorporates paragraphs 1-227 as though fully set forth herein; otherwise,

          denied as to all.

      314.Without knowledge; therefore, denied.
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      315.Without knowledge; therefore, denied.

      316.Without knowledge; therefore, denied.

      317.Without knowledge; therefore, denied.

  COUNT XI: (INVASION OF PROVACY-INTRUSION UPON SECLUSION) AGAINST

     DEFENDANTS GUBERMAN, GUBERMAN PMC, AND DONALD LABELLE

      318.Defendant incorporates paragraphs 1-227 as though fully set forth herein; otherwise,

          denied as to all.

      319.Without knowledge; therefore, denied.

      320.Without knowledge; therefore, denied.

      321.Without knowledge; therefore, denied.

      322.Without knowledge; therefore, denied.

      323.Without knowledge; therefore, denied.

      324.Without knowledge; therefore, denied.

      325.Without knowledge; therefore, denied.

      326.Without knowledge; therefore, denied.

   COUNT XII: CIVIL CONSPIRACY AGAINST WILLIAM LEVINSON, LEVINSON

 PRODUCTIVITY SYSTEMS, PC, MARC SMITH, DARYL GUBERMAN, GUBERMAN

                              PMC, AND DONALD LABELLE

      327.Defendant incorporates paragraphs 1-227 as though fully set forth herein; otherwise,

          denied as to all.

      328. Admitted.

      329. Admitted.

      330. Denied.
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          331. Denied.

          332. Denied.

          333. Denied.

          334. William Levinson hereby denied and moves to strike all damages prayed for in any

                 “WHEREFORE” clause following paragraph 333 of Plaintiff’s Complaint, including

                 but not limited to pre and post judgement intertest, costs, and attorney’s fees, and

                 demands strict proof thereof.

                                      AFFIRMATIVE DEFENSES

     1.   Defendant, William Levinson, states that the statements Plaintiff has alleged to be

 defamatory / libelous are true.

     2. Defendant, William Levinson, states that the statements Plaintiff has alleged to be

 defamatory / libelous are statements of opinion.

     3.   Defendant, William Levinson, states that the statements Plaintiff has alleged to be

 defamatory / libelous are subject to a qualified privilege pursuant to reputational self-defense and

 to warn other about harm or danger to their reputations.

     4. Defendant, William Levinson, states that Plaintiff’s action for any allegedly defamatory /

 libelous statements made before February 18, 2017, are outside of the statute of limitations.

     5. Defendant, William Levinson, stated that Plaintiff has failed to mitigate his damages and

 therefore, the Plaintiff is barred from recovery against this Defendant as a matter of law.

     6. Defendant, William Levinson, states that any damages allegedly sustained by Plaintiff were

 the result of Plaintiff’s own actions and fault, and, as such, no act by Defendant resulted in damage

 to Plaintiff.
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    7. Defendant, William Levinson, stated that any statements allegedly made by him are

 protected by the First Amendment of the United States Constitution.

    8. Defendant, William Levinson, states that this Court lacks Personal Jurisdiction pursuant to

 Rule 12(b)(2) of the Federal Rules of Civil Procedure.

    9. Defendant, William Levinson, states that if the Plaintiff was injured as alleged, Plaintiff

 proximately caused or contributed to his own injury or harm, and therefore, the Plaintiff is barred

 from recovery, or in the alternative, any reward rendered to Plaintiff should be reduced by the

 amount of his own negligence.

    10. The Defendant would state that it is entitled to a set-off of all collateral source payments

 made or payable to the Plaintiff pursuant to both Florida Statutes and case law.

    11. Defendant alleges that at this time, based on limited discovery, the injuries and damages

 complained of were the result of the sole negligence of third parties, as Fabre entities. As discovery

 proceeds, Defendant hereby reserves its right to set forth the names and/or identities of any Fabre

 non-parties who may be wholly or partially responsible for Plaintiff’s alleged injuries.

    12. Defendant, William Levinson, states Plaintiff has failed to state a claim which recovery

 can be made and is barred from any and all recovery.

                                  DEMAND FOR JURY TRIAL
        Defendant, WILLIAM LEVINSON, demands a trial by jury for all issues so triable.

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been

 electronically filed using the Florida Middle District CM/ECF filing portal to Glen H. Shrayer,

 Esq., Shrayer Law Firm, LLC, ghs@shrayerlaw.com; Mark Tischhauser, Esq., Tischhauser Law
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 Group, service@tischhauswerlaw.com ; Daryl Guberman, 1538 West Broad St., Stratford, CT

 06615; and Donald Labelle, 44 Howarth Road, Oxford, MA 01540, on this 30th day of July,

 2019.

                                              BAUMANN, GANT & KEELEY, P.A.
                                              Counsel for Defendant,
                                              WILLIAM LEVINSON
                                              1000 N. Ashley Dr., Suite 270
                                              Tampa, FL 33602
                                              Telephone: (813) 252-5353
                                              Facsimile: (813) 252-6097

                                              By: /s/ Matthew D. Miller
                                                  Matthew D. Miller, Esq.
                                                  Florida Bar No. 177547
